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Unired Stares ofAmerica UN|TED STATES D|STR|CT COURT ase NO

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L!/illic?m SQmwel Pajjenf /.

Defendant' s name Defendant’s_phone no.

YOU ARE RELEASED ON TI'IE FOLLOW|NG ADD|T|°NAL CONDm°NS lNDlCATED BELOW:

PERSONAL PERS(_)NAL RECOGNIZANCE. Your personal recognizance, provided that you promise to appear at all scheduled hearings, trials or
PROM|SE W othcl wise 115 required by the Court.

UNSECURED APPEARANCE BOND' Your personal unsecured appearance bond, to be forfeited should you fail to appear as re-
l:l quired by the Court.

CASH BOND. Upon execution of appearance bond, to be forfeited should you fail to appear as required by the Court, secured by a
deposit, such deposit to be returned when the Court determines you have performed the conditions of your release. You will deposit in

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

oF |:| the registry of the Court %.
l___| SURETY BOND. Upon execution of appearance bond with approved surety. F I L E D
vou ARE HEnEaY RELEAsEo oN THE coNol'rloNs lNochTEo BELow= AUG 3 1 mm
Yc})]u hereby a(gr)ee to be placed in the custodydoi`___mj»»
w o agrees a to supcwlsc you in accm once wit t e con 1t10ns 112 nw &M.Ll bn b
SUPER' (b), to use every effort to assure your appearance at all scheduled hearings, L;DUH l;r ii ;|%t.mt:t. & Bankruptcy
|:| 1) VlSORY trials, or otherwise, and (c), to notify the D. C. Pretrial Services Agency im- " l ls riot al Columbla
CUSTODY {gpéili)itqtgrlljé` m zlhezei/grébyou violate any condition of release or disappear Agency Cus[odian s address
§
* SlGNA'|'lJRE OF Cl_TSTUDJ!\N l.‘u\ilmlion‘s phone no.
_ _ ' 3
Mz you SRE lj!l/ week1y |:| ' person ll_?(THE D.C. PRETRIAL sEvacEs 11101:.1~1€'?1 AT 442-1000.
2) 1;1 m/;` h 10 m -
REPORT m y p one Your attorney, whose name and address 1s shown below.
m at
YOU ARE address phone no.
[l 3) TO l:l with
L|VE name and relationship to defendant phone no.
l:l at being in at night by P.M.
address phone no. time
YOU ARE m by obtaining a job within days and reporting it to the D.C. Pretrial Services Agency at 442-1000.

m 4a) TOWORK m by maintaining yourjob as

 

Employer's name and address

 

by enrolling 1n school at

name and address
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oTHER
W?) coNDmoN

\:\ 8) REARREST

 

 

 

 

 

 

 

 

 

 

You are instructed that any violation of a condition of release may result in l't'evm:alion of release, pretrial detention or contempt. lf you willfully fail to appear as
required, you will be subject to prosecution and if convicted, the maximum penalties are indicated on the reverse side. Furthermore, your release is subject to the
terms and conditions contained on the reverse side which are incorporated in and made a part of this order, which by your signature below you certify you have
read and understand.

 

 

 

 

NEx'r m Coumoom 5 1130 AM en YOuR ATrORNEv J`WM/Y ji}f“"
DuE or when notified and you must appear at all subsequent continued dates. 16 L - (, 20"-`/\\11
BACK You must also afpt:ur

/__` address phone no.

 

 

 

DEFENDANT’S / l understand ll1e- penalties which may be imposed on me for willful failure to appear
,' ¢- or for violation ol' any condition ol` release and agree to comply with the conditions
ME . of my release and to appear as required.

wlTNESsED BY /“M“”!j <1111@ and agency FM’

YOU ARE To NoTiFY 1MMED1ATELY THE D. C. PRETRlAL SERVlCES AGENCY 5001NDIANA AVE., N w FIRST FLooR, TELE-
lMPOHTANT: E%HB{‘?SQBER 442 1111)1) OF ANY/ CHAN .F. ()F ADDRF,SS FMPI OYMEN`T. oR C.HANGE IN `S”lA'l iJs or ANY RELEASE
/1

WH|TE- TO COUFlT PAPEFlS 86
aLuE-T oJuD GE Date g/ Zl l \

GREEN -TO D. C. PRETFl|AL SEFlV|CES AGENCY

CANARY- TO DEFENSE ATTOFlN EY

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